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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


  JASON JORJANI,
                                                 Civil Action No.: 2:18-cv-11693 (WJM-MF)
                        Plaintiff,               Civil Action No.: 2:20-cv-1422 (WJM-MF)
                                                 (consolidated)
  v.


  NEW JERSEY INSTITUTE OF                           ORDER CONSOLIDATING CASES FOR
  TECHNOLOGY, JOEL S. BLOOM,                                ALL PURPOSES
  KEVIN J. BELFIELD, FADI P. DEEK,
  HOLLY STERN, and CHRISTINE LI,

                        Defendants.



         WHEREAS Plaintiff Jason Jorjani (“Plaintiff”) filed Civil Action No. 2:18-cv-11693 in

  this Judicial District against Defendants New Jersey Institute of Technology (“NJIT”), Joel S.

  Bloom, Kevin J. Belfield, Gareth J. Russell, Andrew Klobucar, and Neil J. Maher on July 17,

  2018; and

         WHEREAS Plaintiff filed the related Civil Action No. 2:20-cv-1422 in this Judicial

  District against Fadi P. Deek, Eric Katz, Denise Anderson, Basil Baltzis, Matthew Golden, Holly

  Stern, Christine Li, Stephen A. DePalma, Vincent L. DeCaprio, Lawrence A. Raiai, Dennis M.

  Bone, Peter A. Cistaro, Diane Montalto, Joseph M. Taylor, and Dennis M. Toft on February 11,

  2020; and

         WHEREAS the Court dismissed Russell, Klobucar, and Maher from Civil Action No.

  2:18-cv-11693 on March 12, 2019 (D.E. 14 in Civil Action No. 2:18-cv-11693) and dismissed

  Katz, Anderson, Baltzis, Golden, DePalma, DeCaprio, Raiai, Bone, Cistaro, Montalto, Taylor, and

  Toft from Civil Action No. 2:20-cv-1422 on September 10, 2020 (D.E. 34 in Civil Action No.



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  2:20-cv-1422); and

         WHEREAS the remaining claims and defenses are plainly appropriate for consolidation

  pursuant to Federal Rule of Civil Procedure 42, and that consolidation would not prejudice any

  party; and

         WHEREAS the Honorable William J. Martini, U.S.D.J. stated in his Opinion dated

  September 10, 2020 that the two matters shall be consolidated (D.E. 33, Civil Action No. 2:20-

  cv-1422); and

         for good cause shown;

         IT IS on this 9th day of December, 2020, hereby:

         ORDERED that Civil Action Nos. 2:18-cv-11693 and 2:20-cv-1422 (the “Consolidated

  Actions”) are consolidated for all purposes, including discovery, case management, and trial,

  subject to further order of the Court;

         IT IS FURTHER ORDERED that all filings in the Consolidated Actions shall use the

  above caption on this Order;

         IT IS FURTHER ORDERED that all filings going forward shall be filed in Civil Action

  No. 2:18-cv-11693 and that Civil Action No. 2:20-cv-1422 shall be administratively terminated

  by the Clerk’s office.



                                              SO ORDERED.



                                              s/Mark Falk
                                              Hon. Mark Falk, U.S.M.J.




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